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             Miscellaneous Docket No. ___


       UNITED STATES COURT OF APPEALS
          FOR THE FEDERAL CIRCUIT




                    IN RE VIZIO, INC.,

                                        Petitioner.




       On Petition for a Writ of Mandamus to the
   U.S. District Court for the Eastern District of Texas
   No. 2:23-cv-00124-JRG-RSP, Hon. Rodney Gilstrap


       PETITION FOR WRIT OF MANDAMUS


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                       CERTIFICATE OF INTEREST

       Pursuant to Federal Circuit Rule 47.4(a) and Federal Rule of

Appellate Procedure 26.1, counsel for Petitioner VIZIO, Inc. certifies the

following:

        1.    The full name of every party represented by the undersigned

is VIZIO, Inc.

        2.    VIZIO, Inc. is a wholly owned subsidiary of the publicly traded

VIZIO Holding Corp.

        3.    The names of all law firms, partners, and associates that have

not entered an appearance in the appeal and appeared for the entity in

the lower tribunal or are expected to appear for the entity in this Court,

are:

        Akin Gump Strauss Hauer & Feld LLP: George Andrew Lever
        Rosbrook; and Ryan Stronczer;

        Skiermont Derby LLP: Paul Joseph Skiermont; Michael David
        Ricketts; Rex Hwang; Ryan Abbott Hargrave; and Steven Wayne
        Hartsell; and

        Ward, Smith & Hill, PLLC: Charles Everingham, IV

        5.    There are no related or prior cases that meet the criteria

under Circuit Rule 47.5.




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     6.    There are no organizational victims in criminal cases

pursuant to Federal Rule of Appellate Procedure 26.1(b) or debtors and

trustees in bankruptcy cases pursuant to Federal Rule of Appellate

Procedure 26.1(c).


Dated: August 19, 2024                     /s/ Pratik A. Shah
                                           Pratik A. Shah




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                            INTRODUCTION

     In this patent infringement case, Petitioner VIZIO, Inc. seeks

limited—but essential—relief that this Court has not hesitated to grant

in the face of similar undue delay: a writ of mandamus directing the

district court to rule promptly on VIZIO’s venue motion, accompanied by

an order staying further proceedings in the interim. VIZIO’s motion has

been fully briefed and ripe for disposition for 13 months. All the while,

VIZIO has been forced to expend increasingly substantial resources

litigating the core of the case, with a claim construction hearing a week

away, discovery closing and dispositive motions due this fall, and trial

slated for February 2025.

     Having twice attempted to prompt the district court to act (or at

least stay proceedings) in recent months, VIZIO has no recourse except

to seek this Court’s immediate intervention. Apart from the merits of

VIZIO’s strong motion, warranting dismissal for improper venue or at

least transfer to a proper venue, VIZIO is entitled to a ruling before

engaging in further substantive litigation.        This Court has granted

mandamus relief and ordered a stay when confronted with much shorter

venue-related delays. It should grant the same relief here.



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                           RELIEF SOUGHT

     VIZIO requests that this Court issue a writ of mandamus directing

the district court to resolve promptly VIZIO’s pending venue motion, and

an order staying further proceedings until that motion is resolved.

                         ISSUE PRESENTED

     Whether VIZIO is entitled to a writ of mandamus and stay where

the district court has failed to resolve VIZIO’s venue motion for 13

months and has required VIZIO to participate in substantial merits

proceedings in the interim.

                  JURISDICTIONAL STATEMENT

     This Court has jurisdiction over this petition, which arises out of

patent infringement litigation in the Eastern District of Texas, under the

All Writs Act. 28 U.S.C. § 1651(a); see also id. §§ 1295, 1331, 1338(a).

Mandamus is available “to correct a clear abuse of discretion or

usurpation of judicial power,” In re TS Tech USA Corp., 551 F.3d 1315,

1318 (Fed. Cir. 2008), including delay in the resolution of an improper

venue motion, see, e.g., In re SK hynix Inc., 835 F. App’x 600 (Fed. Cir.

2021).




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                         STATEMENT OF FACTS

     VIZIO is a California corporation headquartered in Irvine,

California. Appx18. It develops high-level specifications and software

for televisions and other consumer electronics products, contracts with

original design manufacturers to manufacture VIZIO-branded products,

and sells those products in the United States—primarily to retailers such

as Best Buy, Walmart, Target, and Sam’s Club. Id.

     Multimedia Technologies Pte. Ltd. is a Singapore corporation that

acquired the patents asserted below. Appx75. Multimedia does not

practice those patents. Appx232.

     A.    VIZIO’s Venue Motion

     In March 2023, Multimedia filed a complaint accusing VIZIO of

infringing ten patents. In June 2023, as its first substantive filing, VIZIO

moved to dismiss the complaint for improper venue under 28 U.S.C.

§ 1400(b). VIZIO explained that it does not maintain any office; own,

rent, or lease any real estate; or maintain any manufacturing plants or

other facilities in the Eastern District of Texas. Appx18.

     In opposing VIZIO’s motion to dismiss, Multimedia disputed none

of those basic facts. Instead, Multimedia asserted that venue was proper

based solely on the fact that VIZIO “utilizes” a “Distribution Facility”

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within the District “to store and distribute its product inventory,

pursuant to an agreement it has with [a third party,] iDC.” Appx75-76.

Multimedia also requested that if venue were found to be improper, the

district court transfer the case to the Central District of California where

VIZIO is headquartered. Appx94-95.

     On reply, VIZIO explained that its agreement with iDC established

that it was iDC, not VIZIO, that independently controlled operations at

the Distribution Facility and determined how to perform the

contractually agreed-upon services.           Appx132-133.        VIZIO also

highlighted the absence of any evidence that any of its employees had a

regular, physical presence at the Distribution Facility. Appx136-137.

Finally, VIZIO agreed with Multimedia that the case could be transferred

to the Central District of California if the district court were so inclined.

Appx141.

     B.     Pre-Trial Proceedings

     Briefing on VIZIO’s pending venue motion was completed on July

19, 2023—13 months ago. In the meantime, despite having not even

answered Multimedia’s complaint given the pending motion, VIZIO has

been forced to comply with numerous deadlines, including with respect



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to infringement contentions, invalidity contentions, and related

amendments and motions to strike. The parties have also conducted

several depositions and completed claim construction briefing on August

9, 2024. Appx1-12.

     Other substantive hearings and deadlines are fast approaching.

Appx214-220. In particular, the district court has scheduled a claim

construction hearing for August 27, 2024. Fact discovery is scheduled to

close shortly thereafter on September 10, 2024. The parties’ opening

expert reports are due on September 24, 2024, with expert discovery

scheduled to close on October 29, 2024. Dispositive motions, including

Daubert motions and motions for summary judgment, are due on

November 5, 2024. Pre-trial disclosures are then due on November 26,

2024, with trial set to begin February 10, 2025.

     C.    VIZIO’s Efforts To Obtain A Venue Ruling

     VIZIO has twice attempted to prompt respectfully the district

court’s resolution of its pending venue motion, to no avail. In May 2024—

11 months after filing its initial motion—VIZIO filed a “Notice of Pending

Issues.” Emphasizing that “the claim construction process has begun,”

VIZIO “respectfully request[ed] a ruling *** at the Court’s earliest



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convenience with the hope of avoiding expending unnecessary judicial

resources on claim construction and other discovery related issues.”

Appx174.

      A month later, with no indication that the district court would issue

a ruling soon, VIZIO sought a stay of further proceedings. Such relief,

VIZIO argued, would give the district court “time to rule on the threshold

issues before the [then] rapidly approaching [and now mostly past]

deadlines for the Markman hearing, and before the close of fact discovery

arrives.” Appx180. Briefing on that stay request was completed on June

27, 2024. The district court has yet to rule on VIZIO’s limited request for

stay relief as well.

             REASONS WHY THE WRIT SHOULD ISSUE

      VIZIO petitions for a writ of mandamus ordering the prompt

resolution of its venue motion—which requests that the case be dismissed

or, in the alternative, agrees to transfer to the Central District of

California—and staying further proceedings in the interim. This Court

considers such petitions under a familiar three-part standard, which

asks: (i) whether VIZIO has a “clear and indisputable” right to the writ;

(ii) whether VIZIO has “no other adequate means to attain the relief [it]



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desires”; and (iii) whether “the writ is appropriate under the

circumstances.” Cheney v. United States Dist. Ct. for D.C., 542 U.S. 367,

380-381 (2004). Given the significant 13-month delay, the district court’s

failure to resolve VIZIO’s venue motion (or entertain VIZIO’s stay

request), and the limited relief that VIZIO seeks in this Court, all three

requirements are satisfied.

     A.    VIZIO Is Entitled To Resolution Of Its Venue Motion
           Before It Litigates Substantive Issues

     It is well settled that “delay by the district court [can] become so

excessive as to warrant the issuance of a writ of mandamus.” Hassine v.

Zimmerman, 160 F.3d 941, 954 (3d Cir. 1998); see also Knickerbocker Ins.

Co. v. Comstock, 83 U.S. 258, 270 (1872) (court may issue writ “to direct

a subordinate Federal court to decide a pending cause”). In several recent

cases, this Court has applied that principle to address long-pending

improper venue motions.

     As this Court has made clear, “a trial court must first address

whether it is a proper and convenient venue before addressing any

substantive portion of the case.” In re Nintendo Co., 544 F. App’x 934,

941 (Fed. Cir. 2013) (emphases added); see also In re Netflix, Inc., No.

2021-190, 2021 WL 4944826, at *1 (Fed. Cir. Oct. 25, 2021) (“Our


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precedent and Fifth Circuit law entitle parties to have their venue

motions prioritized over substantive proceedings in district court.”).

Accordingly, this Court has readily issued writs of mandamus instructing

district courts to resolve venue motions that have been pending for as few

as eight months, accompanied by orders staying proceedings in the

interim. See, e.g., In re Google, Inc., No. 2015-138, 2015 WL 5294800

(Fed. Cir. July 16, 2015) (eight months); In re TracFone Wireless, Inc.,

848 F. App’x 899 (Fed. Cir. 2021) (nine months); In re SK hynix, Inc., 835

F. App’x 600 (nine months).

     VIZIO is entitled to the same relief. The 13-month delay it has

suffered far outstrips the periods of delay that have justified mandamus

in other instances. Like the alleged infringers in those cases, moreover,

VIZIO has been forced to participate in claim construction, discovery, and

other substantive proceedings that this Court has recognized as

prejudicial—all before an answer to Multimedia’s complaint has even

been filed. See In re Apple Inc., 979 F.3d 1332, 1338 (Fed. Cir. 2020)

(noting that district court was wrong to “barrel[] ahead on the merits in

significant respects,” including by “h[olding] a Markman hearing” and

“issu[ing] its claim construction order,” which are “two of the most



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important and time-intensive substantive tasks” in a patent case); In re

Google, 2015 WL 5294800, at *1 (noting “close of discovery” and the

district court’s “conducting [of] both a Markman hearing and a hearing

related to several discovery disputes”); In re SK hynix, 835 F. App’x at

601 (noting “upcoming Markman hearing”).1

     B.    VIZIO Has No Other Avenue For Relief

     No other avenue (including a post-judgment appeal) will afford

VIZIO meaningful relief—namely, resolution of its venue motion prior to

further litigation over substantive issues. As described above (pp. 5-6,

supra), VIZIO has tried without success to obtain such a ruling directly

from the district court by filing a “Notice of Pending Issues” in May 2024

and a motion to stay in June 2024.        Consequently, VIZIO has been

required to engage in full claim construction briefing and ongoing

discovery, including multiple depositions.




     1 Although this Court’s prior orders involve principally motions to

transfer venue, the admonition that “a trial court must first address
whether it is a proper and convenient venue before addressing any
substantive portion of the case” applies equally to motions to dismiss for
improper venue. In re Nintendo, 544 F. App’x at 941. In any event,
VIZIO has sought not only dismissal, but also has agreed to transfer in
the alternative. See p. 4, supra.

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     With a February 2025 trial fast approaching, VIZIO cannot

reasonably wait any longer to seek relief from this Court. The case is

entering critical stages, with the claim construction hearing scheduled

for next week, fact discovery set to close in early September, and several

other substantive deadlines and filings looming. Given the inaction on

VIZIO’s motion despite VIZIO’s repeated prompting, this Court’s

immediate intervention as a matter of last resort is not only warranted

but imperative. See, e.g., In re TracFone Wireless, 848 F. App’x at 900

(granting writ after noting similar efforts by defendant to urge district

court to resolve venue motion).

     C.    VIZIO’s Request For Limited Relief Is Appropriate
           Under The Circumstances

     Mandamus and stay relief are appropriate—and necessary—to

address the district court’s 13-month delay and the burdens VIZIO has

had (and will continue) to bear. Other considerations also weigh in favor

of granting that relief.

     First, Multimedia has no basis to press forward with this litigation

in the Eastern District of Texas while venue remains unresolved. For

one thing, Multimedia does not have an interest in litigating in an

improper venue. For another, maintaining the status quo while the


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district court issues a prompt ruling on the venue motion will not

prejudice Multimedia. Indeed, Multimedia does not make any products

that practice the asserted patents; it seeks only monetary damages.

Appx232; see VirtualAgility Inc. v. Salesforce.com, Inc., 759 F.3d 1307,

1318 (Fed. Cir. 2014) (“A stay will not diminish the monetary damages to

which [the plaintiff] will be entitled if it succeeds in its infringement

suit[.]”); Microlinc, LLC v. Intel Corp., No. 2:07-cv-488, 2010 WL

3766655, at *2 (E.D. Tex. Sept. 20, 2010) (“[S]ince [the patentee] does not

manufacture or sell any products, or otherwise practice the patent, there

is no risk of customer losses or of injury to market share during a stay.”).

     Second, granting mandamus and ordering a stay would also

conserve party and judicial resources. While the specter of dismissal

remains, it makes no sense for the parties and the district court to

conduct time-intensive discovery, motions practice, and trial preparation.

Alternatively, the parties have agreed that should venue be found

improper in the Eastern District of Texas, the district court may exercise

its discretion to transfer this case to the Central District of California.

Appx141. Notably, however, any claim construction order issued by the

district court would not be binding on a transferee court. See Visto Corp.



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v. Sproqit Techs., Inc., 445 F. Supp. 2d 1104, 1107 (N.D. Cal. 2006)

(district court “not bound to follow the [claim construction] decision of

another district court”).

     Third, while VIZIO does not ask this Court to resolve the merits of

its venue motion in the first instance, the strength of that motion

confirms why the district court should not be permitted to constructively

deny it through inaction. Multimedia’s assertion of venue in the Eastern

District of Texas is based solely on the fact that VIZIO contracted with a

third party for services at a single “Distribution Facility”—that VIZIO

did not control—within the District. See pp. 3-4, supra. Moreover, as

Multimedia itself acknowledges even after being afforded the opportunity

to conduct venue-specific discovery, there is no evidence that any VIZIO

employees regularly visited the Distribution Facility. Appx87. Federal

Circuit law plainly does not support venue on this record: “We conclude

that a ‘regular and established place of business’ requires the regular,

physical presence of an employee or other agent of the defendant

conducting the defendant’s business at the alleged ‘place of business.’” In

re Google LLC, 949 F.3d 1338, 1345 (Fed. Cir. 2020) (emphasis added).




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       Multimedia responds by first arguing that it should be entitled to

an “infer[ence]” that VIZIO employees did perform regular visits due to

the absence of any evidence to the contrary. Appx87. Of course, that

inference cannot be squared with the principle that it is Multimedia’s

burden to prove proper venue. In re ZTE (USA) Inc., 890 F.3d 1008, 1013-

1014 (Fed. Cir. 2018).

       Multimedia next argues that iDC employees can be treated as

agents of VIZIO in view of its agreement with iDC. Appx88. That

agreement, however, does not grant VIZIO day-to-day control over iDC

employees in running the Distribution Facility and leaves a considerable

amount of discretion to iDC to perform agreed-upon services. Appx137-

138.    To find proper venue based on these facts would conflate an

agreement (not present here) granting VIZIO the authority to exercise

substantial and pervasive control over iDC employees (which could

establish an agency relationship) with an agreement (like this one)

merely “impos[ing] constraints” or “setting standards *** for acceptable

service quality” (which does not). In re Volkswagen Grp. of Am. Inc., 28

F.4th 1203, 1209-1210 (Fed. Cir. 2022). Particularly in light of this




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Court’s precedents, the district court should not be permitted to delay

resolution of VIZIO’s venue motion any further.

                            CONCLUSION

     For the foregoing reasons, VIZIO respectfully requests that the

Court issue a writ of mandamus directing the district court to resolve

promptly VIZIO’s pending venue motion, as well as an order staying

further proceedings until that motion is resolved.


                                         Respectfully submitted,

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August 19, 2024




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                 CERTIFICATE OF COMPLIANCE

     1. This petition complies with the type-volume limitation of Federal

Rule of Appellate Procedure 21(d)(1). The petition contains 2,567 words,

excluding the parts of the petition exempted by Federal Rule of Appellate

Procedure 32(f) and Federal Circuit Rule 32(b).

     2. This petition complies with the typeface requirements of Federal

Rule of Appellate Procedure 32(a)(5) and the type style requirements of

Federal Rule of Appellate Procedure 32(a)(6). The petition has been

prepared in a proportionally spaced typeface using Microsoft Word in 14-

point Century Schoolbook type style.
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                    CERTIFICATE OF SERVICE

     I hereby certify that on August 19, 2024, I electronically filed the

foregoing with the Clerk of the Court of the United States Court of

Appeals for the Federal Circuit using the appellate CM/ECF system.

     I also served the following Counsel for all parties to the case via

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